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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE:                                                    Case No. 17-10941-SR

SHARMIL MCKEE,                                            Chapter 7
                              Debtor


                         NOTICE OF MOTION TO REOPEN CASE

       Sharmil McKee has filed a Motion to Reopen Case with the Court in order to litigate a

discharge violation.

       YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully

and discuss them with your attorney, if you have one in this bankruptcy case. (If you do

not have an attorney, you may wish to consult an attorney.)

       1.      If you do not want the Court to grant the relief sought in the Motion or if you

want the Court to consider your views on the Motion, then on or before the fourteenth day after

the date this Motion is served or October 6, 2017, you or your attorney must do all of the

following:

               a.      file an answer explaining your position at:

                       U.S. Bankruptcy Court for the Eastern District of Pennsylvania
                       Clerk’s Office
                       900 Market Street, Suite 400
                       Philadelphia, PA 19107.

               b.      mail a copy to the movant’s attorney:

                       Glenn A. Brown, DMD, Esquire
                       Real World Law, P.C.
                       6778 Market Street
                       Upper Darby, PA 19082
                       (610) 734-0750 - Office
                       (610) 734-1255 – Fax
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       2.         If you or your attorney do not take the steps described in Paragraphs 1(a) and 1(b)

above and attend the hearing, the court may enter an order granting the relief requested in the

motion.

       3.         A hearing on the motion is scheduled to be held before the Honorable Jean K.

FitzSimon on November 8, 2017 at 9:30 A.M. in Courtroom 3, United States Bankruptcy Court,

900 Market Street, Philadelphia, PA 19107.

       4.         If a copy of the motion is not enclosed, a copy of the Motion will be provided to

you if you request a copy from the attorney named in Paragraph 1(b).

       5.         You may contact the Bankruptcy Clerk’s office in Philadelphia at (215) 408-2800

or Reading at (610) 208-5040 to find out whether the hearing has been canceled because none

file an answer.

                                                REAL WORLD LAW, P.C.



Dated: September 22, 2017                       By: /s/ Glenn A. Brown
                                                   Glenn A. Brown, DMD, Esquire

                                                   6778 Market Street
                                                   Upper Darby, PA 19082
                                                   (610) 734-0750

                                                   Attorney for Debtor




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